      18-08245-rdd       Doc 2     Filed 04/17/18       Entered 04/17/18 15:57:19          Summons       Pg 1
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                              UNITED STATES BANKRUPTCY COURT
                                   Southern District of New York
In re: The Great Atlantic & Pacific Tea Company, Inc.                                           Bankruptcy Case No.:
                                                                                                      15−23007−rdd

Official Committee Of Unsecured Creditors on behalf of the bankruptcy estate of The
Great Atlantic & Pacific Tea Company, Inc., et al.
The Great Atlantic & Pacific Tea Company, Inc. et al.
                                                    Plaintiff(s),
                                                                                           Adversary Proceeding No.
−against−                                                                                            18−08245−rdd
PepsiCo, Inc.
Bottling Group, LLC (d/b/a Pepsi Beverages Company and f/d/b/a The Pepsi Bottling
Group)
Frito−Lay North America, Inc.
Pepsi−Cola Metropolitan Bottling Company, Inc.
Pepsi−Cola Hasbrouck Heights
Pepsi−Cola Bottling Company
Quaker Sales and Distribution, Inc.
Muller Quaker Dairy, LLC
Stacy's Pita Chip Company, Inc.
Pepsi Bottling Group, NJ
Pepsi USA
Pepsi−Cola Bottling Pennsauk
                                                Defendant(s)

                    SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                          IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to submit a motion or answer to the complaint which is attached to this
summons to the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except that
the United States and its offices and agencies shall submit a motion or answer to the complaint within 35 days, to:

Address of Clerk:
                                                        Clerk of the Court
                                                        United States Bankruptcy Court
                                                        Southern District of New York
                                                        300 Quarropas Street
                                                        White Plains, NY 10601
At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.
Name and Address of Plaintiff's Attorney:
                                                             David N. Crapo
                                                             Gibbons P.C.
                                                             One Gateway Center
                                                             Newark, NJ 07102−5310
If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will be
held at the following time and place:
                                                                 Room: Courtroom 118, White Plains
United States Bankruptcy Court                                   Courthouse, 300 Quarropas Street, White
Southern District of New York                                    Plains, NY 10601
300 Quarropas Street
White Plains, NY 10601                                           Date and Time: 7/17/18 at 10:00 AM
IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.
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Dated: 4/17/18                                 Vito Genna

                                               Clerk of the Court

                                               By: /s/ Ana G. Vargas

                                               Deputy Clerk
